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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF OKLAHOMA

     Kevin Hoog, on behalf of himself and all oth-
     ers similarly situated,

                                   Plaintiff,

     v.                                                      Case No. 16-CV-463-KEW

     PetroQuest Energy, L.L.C., et al.,

                                   Defendants.


                                                JUDGMENT


           This is a class action lawsuit brought by Plaintiff Kevin Hoog, on behalf of himself and as

representative of a class of owners (defined below), against Trinity Operating (USG), LLC and

WSGP Gas Producing, LLC (“Defendants”), for the alleged underpayment of royalty on gas and

gas constituents from Oklahoma oil-and-gas wells during the Claim Period. On November 21,

2022, the Parties executed a Stipulation and Agreement of Settlement (the “Settlement Agree-

ment”) finalizing the terms of the Settlement.11

           On January 11, 2023, the Court preliminarily approved the Settlement and issued an Order

Granting Preliminary Approval of Class Action Settlement, Certifying the Class for Settlement

Purposes, Approving Form and Manner of Notice, and Setting Date for Final Fairness Hearing (the

“Preliminary Approval Order”). In the Preliminary Approval Order, the Court, inter alia:

           a.     certified the Settlement Class for settlement purposes, finding all requirements of

                  Federal Rule of Civil Procedure 23 have been satisfied with respect to the proposed

                  Settlement Class;



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     Capitalized terms not otherwise defined in this Order shall have the meaning ascribed to them in
     the Settlement Agreement.
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 b.    appointed Plaintiff Kevin Hoog as Class Representative and Reagan E. Bradford

       and Ryan K. Wilson of Bradford & Wilson PLLC and Rex A. Sharp of Sharp Law,

       LLP as Co-Lead Class Counsel;

 c.    preliminarily found: (i) the proposed Settlement resulted from extensive arm’s-

       length negotiations; (ii) the proposed Settlement was agreed to only after Class

       Counsel had conducted legal research and discovery regarding the strengths and

       weaknesses of Class Representative’s and the Settlement Class claims; (iii) Class

       Representative and Class Counsel have concluded that the proposed Settlement is

       fair, reasonable, and adequate; and (iv) the proposed Settlement is sufficiently fair,

       reasonable, and adequate to warrant sending notice of the proposed Settlement to

       the Settlement Class;

 d.    preliminarily approved the Settlement as fair, reasonable, and adequate and in the

       best interest of the Settlement Class;

 e.    preliminarily approved the form and manner of the proposed Notices to be commu-

       nicated to the Settlement Class, finding specifically that such Notices, among other

       information: (i) described the terms and effect of the Settlement; (ii) notified the

       Settlement Class that Plaintiff’s Counsel will seek Plaintiff’s Attorneys’ Fees, re-

       imbursement of Litigation Expenses and Administration, Notice, and Distribution

       Costs, and a Case Contribution Award for Class Representative’s services; (iii) no-

       tified the Settlement Class of the time and place of the Final Fairness Hearing; (iv)

       described the procedure for requesting exclusion from the Settlement; and (v) de-

       scribed the procedure for objecting to the Settlement or any part thereof;




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         f.     instructed the Settlement Administrator to disseminate the approved Notices to po-

                tential members of the Settlement Class in accordance with the Settlement Agree-

                ment and in the manner approved by the Court;

         g.     provided for the appointment of a Settlement Administrator;

         h.     provided for the appointment of an Escrow Agent;

         i.     set the date and time for the Final Fairness Hearing as April 17, 2023, at 10:00 a.m.

                CT in the United States District Court for the Eastern District of Oklahoma; and

         j.     set out the procedures and deadlines by which Class Members could properly re-

                quest exclusion from the Settlement Class or object to the Settlement or any part

                thereof.

         After the Court issued the Preliminary Approval Order, due and adequate notice by means

of the Notice and Summary Notice was given to the Settlement Class, notifying them of the Set-

tlement and the upcoming Final Fairness Hearing. On April 17, 2023, in accordance with the Pre-

liminary Approval Order and the Notice, the Court conducted a Final Fairness Hearing to, inter

alia:

         a.     determine whether the Settlement should be approved by the Court as fair, reason-

able, and adequate and in the best interests of the Settlement Class;

         b.     determine whether the notice method utilized by the Settlement Administrator: (i)

constituted the best practicable notice under the circumstances; (ii) constituted notice reasonably

calculated under the circumstances to apprise Class Members of the pendency of the Litigation,

the Settlement, their right to exclude themselves from the Settlement, their right to object to the

Settlement or any part thereof, and their right to appear at the Final Fairness Hearing; (iii) was

reasonable and constituted due, adequate, and sufficient notice to all persons and entities entitled



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to such notice; and (iv) meets all applicable requirements of the Federal Rules of Civil Procedure

and any other applicable law;

          c.     determine whether to approve the Allocation Methodology, the Initial Plan of Allo-

cation, and distribution of the Net Settlement Fund and the PetroQuest Settlement Funds to Class

Members who did not timely submit a valid Request for Exclusion or were not otherwise excluded

from the Settlement Class by order of the Court;22

          d.     determine whether a Judgment should be entered pursuant to the Settlement Agree-

ment, inter alia, dismissing the Litigation against Defendants with prejudice and extinguishing,

releasing, and barring all Released Claims against all Released Parties in accordance with the Set-

tlement Agreement;

          e.     determine whether the applications for Plaintiff’s Attorneys’ Fees, reimbursement

for Litigation Expenses and Administration, Notice, and Distribution Costs, and Case Contribution

Award to Class Representative are fair and reasonable and should be approved;33and

          f.     rule on such other matters as the Court deems appropriate.

          The Court, having reviewed the Settlement, the Settlement Agreement, and all related

pleadings and filings, and having heard the evidence and argument presented at the Final Fairness

Hearing, now FINDS, ORDERS, and ADJUDGES as follows:

          1.     The Court, for purposes of this Final Judgment (the “Judgment”), adopts all defined

terms as set forth in the Settlement Agreement and incorporates them as if fully set forth herein.




2
    The Court will issue a separate order pertaining to the allocation and distribution of the Net Set-
    tlement Fund and the PetroQuest Settlement Funds among Class Members (the “Initial Plan of
    Allocation Order”).
3
    The Court will issue separate orders pertaining to Plaintiff’s Counsel’s request for Plaintiff’s
    Attorneys’ Fees, reimbursement of Litigation Expenses and Administration, Notice, and Distri-
    bution Costs, and Class Representative’s request for a Case Contribution Award.
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       2.      The Court has jurisdiction over the subject matter of this Litigation and all matters

relating to the Settlement, as well as personal jurisdiction over Defendants and Class Members.

       3.      The Settlement Class, which was certified in the Court’s Preliminary Approval Or-

der, is defined as follows:

       All non-excluded persons or entities who are or were royalty owners in the Class Wells
       located in Oklahoma where Defendants (including their affiliated predecessors and affili-
       ated successors) or Defendants’ designees, including PetroQuest Energy, L.L.C., are or
       were the operator (or a working interest owner who marketed its share of gas and directly
       paid royalties to the royalty owners) during the Claim Period, including all such persons or
       entities whose gas was sold to NextEra Energy Marketing, LLC (or its affiliated predeces-
       sors and affiliated successors). The Class claims relate to royalty payments for gas and its
       constituents (such as residue gas, natural gas liquids, helium, nitrogen, or drip condensate).

       The persons or entities excluded from the Class are: (1) agencies, departments, or instru-
       mentalities of the United States of America or the State of Oklahoma, including any Indian
       tribe as defined at 30 U.S.C. § 1702(4) or Indian allottee as defined at 30 U.S.C. § 1702(2);
       (2) the State of Oklahoma or any of its agencies or departments that own royalty interests;
       (3) Defendants, their affiliates, predecessors, and employees, officers, and directors; (4)
       any publicly traded company, or their affiliated entity, that produces, gathers, processes, or
       markets gas; (5) the claims of royalty owners to the extent covered by arbitration clauses
       or prior settlement agreements, if any, still in effect at the time suit was filed herein; (6)
       overriding royalty owners and others whose interest was carved out from the lessee’s inter-
       est; (7) royalty owners who already filed and still have pending or already settled lawsuits
       for underpayment of royalties against Defendants; (8) Plaintiff’s counsel, their experts, and
       officers of the Court; and (9) royalty owners for the wells and leases acquired from Encana
       Corp.

       4.      For substantially the same reasons as set out in the Court’s Preliminary Approval

Order, [Doc. 306], the Court finds that the above-defined Settlement Class should be and is hereby

certified for the purposes of entering judgment pursuant to the Settlement Agreement. Specifically,

the Court finds that all requirements of Rule 23(a) and Rule 23(b)(3) have been satisfied for settle-

ment purposes. Because this case has been settled at this stage of the proceedings, the Court does

not reach, and makes no ruling either way, as to the issue of whether the Settlement Class could

have been certified in this case on a contested basis.

       5.      The Court finds that the persons and entities identified in the attached Exhibit 1

have submitted timely and valid Requests for Exclusion and are hereby excluded from the
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foregoing Settlement Class, will not participate in or be bound by the Settlement, or any part

thereof, as set forth in the Settlement Agreement, and will not be bound by or subject to the releases

provided for in this Judgment and the Settlement Agreement.

       6.      At the Final Fairness Hearing on April 17, 2023, the Court fulfilled its duties to

independently evaluate the fairness, reasonableness, and adequacy of, inter alia, the Settlement

and the Notice of Settlement provided to the Settlement Class, considering not only the pleadings

and arguments of Class Representative and Defendants and their respective Counsel, but also the

concerns of any objectors and the interests of all absent Class Members. In so doing, the Court

considered arguments that could reasonably be made against, inter alia, approving the Settlement

and the Notice of Settlement, even if such argument was not actually presented to the Court by

pleading or oral argument.

       7.      The Court further finds that due and proper notice, by means of the Notices, was

given to the Settlement Class in conformity with the Settlement Agreement and Preliminary Ap-

proval Order. The form, content, and method of communicating the Notices disseminated to the

Settlement Class and published pursuant to the Settlement Agreement and the Preliminary Ap-

proval Order: (a) constituted the best practicable notice under the circumstances; (b) constituted

notice reasonably calculated, under the circumstances, to apprise Class Members of the pendency

of the Litigation, the Settlement, their right to exclude themselves from the Settlement, their right

to object to the Settlement or any part thereof, and their right to appear at the Final Fairness Hear-

ing; (c) was reasonable and constituted due, adequate, and sufficient notice to all persons and en-

tities entitled to such notice; and (d) met all applicable requirements of the Federal Rules of Civil

Procedure, the Due Process Clause of the United States Constitution, the Due Process protections

of the State of Oklahoma, and any other applicable law. Therefore, the Court approves the form,

manner, and content of the Notices used by the Parties. The Court further finds that all Class

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Members have been afforded a reasonable opportunity to request exclusion from the Settlement

Class or object to the Settlement.

       8.      Pursuant to and in accordance with Federal Rule of Civil Procedure 23, the Settle-

ment, including, without limitation, the consideration paid by Defendants, the covenants not to sue,

the releases, and the dismissal with prejudice of the Released Claims against the Released Parties

as set forth in the Settlement Agreement, is finally approved as fair, reasonable, and adequate and

in the best interests of the Settlement Class. The Settlement Agreement was entered into between

the Parties at arm’s-length and in good faith after substantial negotiations free of collusion. The

Settlement fairly reflects the complexity of the Claims, the duration of the Litigation, the extent of

discovery, and the balance between the benefits the Settlement provides to the Settlement Class

and the risk, cost, and uncertainty associated with further litigation and trial. Serious questions of

law and fact remain contested between the parties. The Settlement provides a means of gaining

immediate valuable and reasonable compensation and forecloses the prospect of uncertain results

after many more months or years of additional discovery and litigation. The considered judgment

of the Parties, aided by experienced legal counsel, supports the Settlement.

       9.      By agreeing to settle the Litigation, Defendants do not admit, and instead specifi-

cally deny, that the Litigation could have otherwise been properly maintained as a contested class

action, and specifically deny any and all wrongdoing and liability to the Settlement Class, Class

Representative, and Class Counsel.

       10.     The Court finds that on December 16, 2022, Defendants caused notice of the Set-

tlement to be served on the appropriate state official for each state in which a Class Member resides,

and the appropriate federal official, as required by and in conformance with the form and content

requirements of 28 U.S.C. § 1715. In connection therewith, the Court has determined that, under

28 U.S.C. § 1715, the appropriate state official for each state in which a Class Member resides was

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and is the State Attorney General for each such state, and the appropriate federal official was and

is the Attorney General of the United States. Further, the Court finds it was not feasible for De-

fendants to include on each such notice the names of each of the Class Members who reside in

each state and the estimated proportionate share of each such Class Members to the entire Settle-

ment as provided in 28 U.S.C. § 1715(b)(7)(A); therefore, each notice included a reasonable esti-

mate of the number of Class Members residing in each state and the value of the Gross Settlement

Fund. No appropriate state or federal official has entered an appearance or filed an objection to the

entry of final approval of the Settlement. Thus, the Court finds that all requirements of 28 U.S.C.

§ 1715 have been met and complied with and, as a consequence, no Class Member may refuse to

comply with or choose not to be bound by the Settlement and this Court’s Orders in furtherance

thereof, including this Judgment, under the provisions of 28 U.S.C. § 1715.

        11.     The Litigation and Released Claims are dismissed with prejudice as to the Released

Parties. All Class Members who have not validly and timely submitted a Request for Exclusion to

the Settlement Administrator as directed in the Notice of Settlement and Preliminary Approval

Order (a) are hereby deemed to have finally, fully, and forever conclusively released, relinquished,

and discharged all of the Released Claims against the Released Parties and (b) are barred and per-

manently enjoined from, directly or indirectly, on any Class Member’s behalf or through others,

suing, instigating, instituting, or asserting against the Released Parties any claims or actions on or

concerning the Released Claims. Neither Party will bear the other’s Party’s litigation costs, costs

of court, or attorney’s fees.

        12.     The Court also approves the efforts and activities of the Settlement Administrator

and the Escrow Agent in assisting with certain aspects of the administration of the Settlement, and

directs them to continue to assist Class Representative and Class Counsel in completing the



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administration and distribution of the Settlement in accordance with the Settlement Agreement,

this Judgment, any Plan of Allocation approved by the Court, and the Court’s other orders.

        13.    Nothing in this Judgment shall bar any action or claim by Class Representative or

Defendants to enforce or effectuate the terms of the Settlement Agreement or this Judgment.

        14.    The Settlement Administrator is directed to refund to Defendants the gross amounts

attributable to Class Members under the Initial Plan of Allocation who timely and properly sub-

mitted a Request for Exclusion or who were otherwise excluded from the Settlement Class by order

of the Court in accordance with the timing, terms, and process detailed in the Settlement Agree-

ment.

        15.    Neither this Settlement, the Settlement Agreement, any document referred to herein,

nor any action taken to carry out the Settlement is, may be construed as, or may be used as, evidence

of or an admission or concession by Defendants of any fault, wrongdoing, or liability whatsoever

with respect to the claims and allegations in the Litigation, or class certifiability. Entering into or

carrying out the Settlement Agreement, and any negotiations or proceedings related thereto, and

the Settlement Agreement itself, are not, and shall not be construed as, or deemed to be evidence

of, an admission or concession by any of the Parties to the Settlement Agreement and shall not be

offered or received as evidence in any action or proceeding by or against any party hereto in any

court, administrative agency, or other tribunal for any purpose whatsoever other than to enforce

the provisions of the Settlement between Defendants and any Class Member(s), the provisions of

the Settlement Agreement, or the Judgment, or to seek an Order barring or precluding the assertion

of Released Claims in any proceeding. Further, this Final Judgment shall not give rise to any col-

lateral estoppel effect as to the certifiability of any class in any other proceeding.

        16.    As separately set forth in detail in the Court’s Initial Plan of Allocation Order, the

Allocation Methodology and the Initial Plan of Allocation are approved as fair, reasonable and

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adequate, and Class Counsel and the Settlement Administrator are directed to administer the Set-

tlement in accordance with the Plan of Allocation Order(s) entered by the Court.

       17.     The Court finds that Class Representative, Defendants, and their Counsel have com-

plied with the requirements of the Federal Rules of Civil Procedure as to all proceedings and filings

in this Litigation. The Court further finds that Class Representative and Class Counsel adequately

represented the Settlement Class in entering into and implementing the Settlement.

       18.     Neither Defendants nor Defendants’ Counsel shall have any liability or responsibil-

ity to Plaintiff, Plaintiff’s Counsel, or the Settlement Class with respect to the Gross Settlement

Fund or the PetroQuest Settlement Funds or their administration, including but not limiting to any

distributions made by the Escrow Agent or Settlement Administrator. Except as described in para-

graph 6.19 of the Settlement Agreement, no Class Member shall have any claim against Plaintiff,

Plaintiff’s Counsel, the Settlement Administrator, the Escrow Agent, or any of their respective de-

signees or agents based on the distributions made substantially in accordance with the Settlement

Agreement, the Court’s Plan of Allocation Order(s), or other orders of the Court.

       19.     Any Class Member who receives a Distribution Check that he/she/it is not legally

entitled to receive is hereby ordered to either (a) pay the appropriate portion(s) of the Distribution

Check to the person(s) legally entitled to receive such portion(s) or (b) return the Distribution

Check uncashed to the Settlement Administrator.

       20.     All matters regarding the administration of the Escrow Account and the taxation of

funds in the Escrow Account or distributed from the Escrow Account shall be handled in accord-

ance with the Settlement Agreement.

       21.     Any order approving or modifying any Plan of Allocation Order, the application by

Class Counsel for an award of Plaintiff’s Attorneys’ Fees or reimbursement of Litigation Expenses

and Administration, Notice, and Distribution Costs, or the request of Class Representative for a

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Case Contribution Award shall be handled in accordance with the Settlement Agreement and the

documents referenced therein.

       22.     A party, including Plaintiff, Plaintiff’s Counsel, the Settlement Class, Defendants,

and Defendants’ Counsel will only be liable for loss of any portion of the Escrow Account as de-

scribed in paragraph 6.19 of the Settlement Agreement.

       23.     Without affecting the finality of this Judgment in any way, the Court (along with

any appellate court with power to review the Court’s orders and rulings in the Litigation) reserves

exclusive and continuing jurisdiction to enter any orders as necessary to administer the Settlement

Agreement, including jurisdiction to determine any issues relating to the payment and distribution

of the Net Settlement Fund and the PetroQuest Settlement Funds, and to enforce the Judgment.

       24.     In the event the Settlement is terminated as the result of a successful appeal of this

Judgment or does not become Final and Non-Appealable in accordance with the terms of the Set-

tlement Agreement for any reason whatsoever, then this Judgment and all orders previously entered

in connection with the Settlement shall be rendered null and void and shall be vacated. The provi-

sions of the Settlement Agreement relating to termination of the Settlement Agreement shall be

complied with, including the refund of amounts in the Escrow Account to Defendants.

       25.     Without affecting the finality of this Judgment in any way, the Court (along with

any appellate court with power to review the Court’s orders and rulings in the Litigation) reserves

exclusive and continuing jurisdiction to enter any orders as necessary to administer the Settlement

Agreement, including jurisdiction to determine any issues relating to the payment and distribution

of the Net Settlement Fund and the PetroQuest Settlement Funds, to issue additional orders per-

taining to, inter alia, Class Counsel’s request for Plaintiff’s Attorneys’ Fees and reimbursement of

reasonable Litigation Expenses and Administration, Notice, and Distribution Costs, and Class Rep-

resentative’s request for a Case Contribution Award, and to enforce this Judgment. Notwithstanding

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the Court’s jurisdiction to issue additional orders in this Litigation, this Judgment fully disposes of

all claims as to Defendants and is therefore a final appealable judgment. The Court further hereby

expressly directs the Clerk of the Court to file this Judgment as a final order and final judgment in

this Litigation.



        IT IS SO ORDERED this 17th day of April, 2023.



                                               __________________________________________
                                               KIMBERLY E. WEST
                                               UNITED STATES MAGISTRATE JUDGE



Approved as to Form:

  /s/ Reagan E. Bradford                           /s/ Michael D. Morfey
  Reagan E. Bradford, OBA #22072                   HUNTON ANDREWS KURTH LLP
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  CLASS COUNSEL




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                                 Exhibit 1

Hughes Fuel Company LLC
Sans Bois Oil and Gas LP
Foreland Energy LP
Michael Scott Witcher
Citation 2004 Investment LP
MMGK East Oklahoma 2020 LLC
Merit Energy Company LLC
Mary Galbreath Shurtleff




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